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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


  DAVID COLE, ET AL.                                    CIVIL ACTION NO. 16-0648

  VERSUS                                                JUDGE S. MAURICE HICKS, JR.

  PCS INDUSTRIAL OUTSOURCING, LP,                       MAGISTRATE JUDGE HANNA
  ET AL.


                                          ORDER

          For the reasons assigned in the Report and Recommendation of Magistrate Judge

  Hornsby previously filed herein, and having thoroughly reviewed the record, including the

  written objections filed [Record Document 46], and concurring with the findings of

  Magistrate Judge Hornsby under the applicable law;

          IT IS ORDERED that Plaintiffs’ Motion to Remand is hereby DENIED, and all

  claims against Defendant Lawrence Segura be DISMISSED WITH PREJUDICE.

          THUS DONE AND SIGNED in Shreveport, Louisiana, this 19th day of October,

  2020.
